          Case 1:13-cv-01015-VSB Document 336 Filed 08/27/21 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x

CHAZ PERRY, et al.,

                                           Plaintiffs,
                                                                         NOTICE OF APPEAL
                          - against-
                                                                           1:13-cv-01015-VSB
THE CITY OF NEW y ORK and
THE NEW YORK CITY FIRE DEPARTMENT,

                                        Defendants.

------------------------------------------------------------------x
         Notice is hereby given that defendants appeal to the United States Court of

Appeals for the Second Circuit from the opinion and order entered on August 5, 2021

(ECF No. 332) and the final judgment entered on February 5, 2020 (ECF No. 313),

bringing up for review all underlying orders and rulings.

Dated:       New York, New York
             August 27, 2021
                                                            GEORGIA M. PESTANA
                                                            Corporation Counsel
                                                            of the City of New York
                                                           ~ Defendants

                                                    By:
                                                            Devin Slack    ~
                                                            Assistant Corporation Counsel

                                                            100 Church Street
                                                            New York, New York 10007
                                                            212-356-0817
                                                            dslack@law.nyc.gov
